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IN rI`HE UNITED S'I`ATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MICHAEL NAPOLI : CIVIL ACTION NO.
949 Maple Avenue '
Glenolden, PA 19036

Plaintitt, : JURY TRIAL DEMANDED
v.

GREENWOOD GAl\/ITNG AND
ENTERTA[NMENT, lNC., d/b/a
PARX CASINO

2999 Street Road

Bensalem, PA 19020

Defendant.

 

COMPLAINT ~ CIVIL ACTION

Plaintiff, l\/Iichael Napo`li (“Plaintiff”), by and through his undersigned attorney, for his
Complaint against Greenwood Gaming and Entertainment, Inc., d/'b/a Parx Casino (“Defendant”),
alleges as follows:

l. Plaintift` brings this Complaint contending that Defendant has violated the
Arnericans with Disabilities Act, 42 U.S.C- § 12101, et seq. (“ADA”), and the Pennsylvania
Human Relations Act, 43 P.S. § 951, et seq. (“PHR.A”), by failing to engage in an interactive
process of determining a reasonable accommodation for his disabilities; by discharging Plaintiff
on account of his disabilities; and in retaliation for requesting a reasonable accommodation in
connection thereto.

PARTIES

2. Plaintif‘f Michael Napoli is an adult American citizen residing at 949 Maple

Avenue, Glenolden, PA 19036.

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3. Upon information and belief, Defendant Greenwood Gaming and Entertainment,
lnc., d/b/a Parx Casino is a domestic corporation existing under the laws of the Commonwealth of
Pennsylvania with a registered business address of 2999 Street Road, Bensalern, PA 19020.

JURISDICTION AND VENUE

4. Paragraphs l through 3 are hereby incorporated by reference as though the same
were fully set forth at length herein.

5. . On or about July 31 , 2017, Plaintiff filed a Complaint with the United States Equal
Employment Opportunity Cornmission (the “EEOC”), which Was dually-filed with the
Pennsylvania Human Relations Commission (the “PHRC”), thereby satisfying the requirements
of 42 U.S.C. §§ l_2117(a);2000e-5(b) and (e). Plaintiff’s Complaint was docketed as EEOC Case
Number: 530-201 7-03510. Plaintift’ s Complaint was filed within one hundred and eighty (180)
days of the unlawful employment practice, i-e. discrimination on account of a disability.

6. By correspondence dated April 24, 20]_8, Plaintiff received a Notice of Rights to
Sue from the EEOC regarding his Charge of Discrimination, advising him that he had ninety (90)
days to tile suit against Defendant.

7. On or about July 16, 2018, within the relevant statutory timeline, Plaintiff filed the
instant matter.

8. Plaintiff has therefore exhausted his administrative remedies and has complied with
all conditions precedent to maintaining this action,

9. This action is authorized and instituted pursuant to the Americans with Disabilities
Act of 1990, 42 U.S.C. § 12101, et seq. (“ADA”),

lO. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and 1343,

as it is a civil rights action arising under the laws of the United States.

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ll. This Court has supplemental jurisdiction over Plaintiff’s state law claims because
those claims arise out of the same nucleus of operative fact as the ADA claim.

12. The venue in this District is proper pursuant to 28 U.S.C. § l39l, inasmuch as the
events giving rise to this action occurred in this District.

tugs

13. Paragraphs l through 12 are hereby incorporated by reference as though the same
were fully set forth at length herein.

14. On or about August 2016, Defendant hired Plaintiff as a Table Garnes Dealer.

15 . At all times material hereto, Plaintiff performed his job duties well, receiving
positive feedback and no justifiable discipline

l6. Plaintiff suffers from a Series of pediatric health conditions, including but not
limited to chronic plantar fasciitis, bilateral tarsai tunnel syndrome, heel Spurs, and bilateral
achilles damage, each of which are disabilities within the meaning of the ADA and the Pl-IRA in
that they substantially impair Plaintiff s ability to perform major life activities, including but not
limited to standing for extended periods, bending, and lifting

17. Defendant utilizes a “point” system with respect to its employee discipline policy.

lS. By way of example, after an employee accrues a particular number of points, said
employee is subject to discipline, up to and including termination.

19. Defendant’s policy addresses, among other matters, employee absences and
discipline connected thereto.

20. The aforesaid policy does not, however, address employees with disabilities

and/or whether disability-related absences are exempt from discipline, in any circumstance

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21. ln this regard, Defendant’s policy facially violates the ADA and the PHRA in that
it fails to accommodate employees with disabilities who may require occasional leave.

22. Additionally, the policy precludes Defendant from engaging in the interactive
process as required by the ADA and the PHRA with employees who have disabilities and require
reasonable accommodations in the form of occasional leave, such as Plaintiff.

23. ln or about January 2017, Plaintiff was diagnosed with deep vein thrombosis of
his right ann, as he developed a significant blood clot subsequent to a cardiac catheterization
procedure in connection with diastolie heart failure

24. Both deep vein thrombosis and diastolic heart failure are disabilities within the
meaning of the ADA and the PHRA in that they substantially impair Plaintiff s ability to perform
major life activities

25. On or about January 25, 2017 and January 29, 2017, Plaintiff called out of work
with respect to his deep vein thrombosis, which constituted a request for a reasonable
accommodation within the meaning of the ADA and the PHRA.

26. Shortly thereafter, Defendant notified Plaintiffthat, per its policy, Plaintiff was
assigned additional “points” because one of the days on which Plaintiff called out was designated
as a “high volume day.”

27. On or about January 26, 2017, Plaintiff notified Becky McConnick (“Ms.
McConnick”), Supervisor, that his prior day call out was the result of his disabilities, including
deep vein thrombosis.

28. l\/ls. McConnick directed Plaintiff to speak with Johanna (last name unknown)

(“Johanna LNU”), Scheduling Director,

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29. However, when Plaintiff approached Johanna LNU with documentation from his
physician regarding his disabilities and request for accommodation in the form of occasional
time off and/or schedule modification, Johanna LNU refused to review his documentation,
remarking “I don’t want to hear it.”

30. in or about late January 2017, Plaintiff informed Johanna LNU that his deep vein
thrombosis condition had progressed and that he required surgical intervention in connection

with same.

3l. Plaintiff informed Johanna LNU that his physician estimated he would require six
(6) weeks of leave to recover from same. -

32. Gn or about February l, 2017, lohanna LNU initially remarked “I think we can
accommodate you,” and directed Plaintiff to call Ben (last name unknown) (“Ben LNU”),

Scheduler.

33. When Plaintiff contacted Ben LNU, Ben LNU placed Plaintist call on hold and
transferred Plaintiff to Johanna LNU, who instructed Plaintiff to return his uniforms to
Defendant and requested that Plaintiff sign documentation agreeing to resign from his
employment

34. Plaintiff refused to complete resignation paperwork.

35. On or about February 2, 20l7, Plaintiff contacted Ben LNU and informed Ben
LNU that Plaintiff could not electronically access Defendant’s scheduling roster.

36. Ben LNU initially informed Plaintiff that Ben LNU would contact Human

Resources and follow up with Plaintiff regarding same.
37. Shortly thereafter, Ben LNU informed Plaintiff that Plaintiff had been terminated

from employment for exceeding Defendant’s point limit with respect to Plaintiff’ s absences

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38. Defendant knew of Plaintiffs disabilities and never offered to provide reasonable
accommodations for Plaintiff s disabilities

39.' Accordingly, it is believed and therefore averred that Defendant terminated
Plaintiff’s employment on account of his disabilities, in retaliation for Plaintiff requesting an
accommodation, and out of an unlawful desire to avoid-providing an accommodation for Plaintiff s
anticipated recovery period.

40. Defendant failed to provide Plaintiff with a reasonable accommodation for his
disabilities and failed to engage in the interactive process to determine such reasonable
accommodations

41. As a result of Defendant’s deliberate, Willful, malicious, and unlawful actions,
Plaintiff has suffered damages, including, but not limited to, loss of employment, earnings and
earnings potential, loss of potential bonuses, and other economic damages, and has also suffered
mental anguish, emotional pain and suffering, emotional distress, humiliation, and damage to his
reputation

COUNT I
AMERICANS WITH DISABILITIES ACT
42 U.S.C. § 12101, et seq.
DISCRIMINATION ANI) RETALlATlON

42. Paragraphs l through 41 are hereby incorporated by reference as though the same
were fully set forth at length herein.

43. At all times relevant hereto, Plaintiff was an employee within the meaning of the
Americans with Disabilities Act, 42 U.S.C. § 12101, el seq.

44. At all times relevant hereto, Defendant had at least fifteen (15) employees

45. Plaintiff is a qualified individual with a disability within the meaning of the ADA.

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46. As described above, Plaintiff s conditions are physical impairments that
substantially limited Plaintiff in one or more major life activities

47. Defendant was aware of Plaintiff s disabilities

48. By reason ofthe foregoing, Defendant, through its agents, officers, servants, and/or
employees, has violated the ADA by terminating Plaintiff on account of his disabilities

49. Defendant also failed to engage in the interactive process with Plaintiff despite
Plaintiff’s requests for a reasonable accommodation

50. As a result of Defendant’s deliberate, unlawful, and malicious acts as set forth
above, Plaintiff has suffered loss of employment, eamings, earnings potential, raises, and other
significant economic benefits, along with emotional pain and suffering, emotional distress, and
humiliation.

WHEREFORE, as a result of the unlawful conduct of Defendant, Plaintiff respectfully
requests that this Court enter judgment in his favor and against Defendant, and grant him the
maximum relief allowed by lawJ including, but not limited to:

A. Back wages, front pay, and bonuses in an amount to be determined at trial, but not
less than one hundred and fifty thousand dollars ($150,000.00);

B. Punitive, compensatory, and/or exemplary damages in an amount to be determined
at trial, but sufficient to punish Defendant for its intentional, negligent, willful, wanton, and/or

malicious conduct;

C. Plaintiff’ s costs, disbursements, and attorney’s fees incurred in prosecuting this
matter;

`D. Pre-j udgment'interest in an appropriate amount;

E. Such other and further relief as is just and equitable under the circumstances; and

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F. Any verdict in favor of Plaintiff is to be molded by the Court to maximize the
financial recovery available to Plaintiff in light of the caps on certain damages set forth by

applicable federal law.
COUNT II
PENNSYLVANIA HUMAN RELATIONS ACT
43 P.S. § 951, et seq.
DISCRIM]NATION AND RETALIATION

51. Paragraphs l_ through 50 are hereby incorporated by reference as if the same were
more fully set forth at length herein

52. At all times relevant hereto, Plaintiff was an employee within the meaning of the
Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

53. At all times relevant hereto, Defendant had at least four (4) employees

54. Plaintiff is a qualified individual with a disability within the meaning of the PHRA.

55. As described above, Plaintiff’s conditions are physical impairments that
substantially limited Plaintiff in one or more major life activities

56. Defendant was aware of Plaintiffs disabilities

57. By reason of the foregoing, Defendant, through its agents officers, servants and/or
employees has violated the PHRA by terminating Plaintiff on account of his disabilities

58. Defendant also failed to engage in the interactive process with Plaintiff despite
Plaintiff’s requests for a reasonable accommodation

59. As a result of Defendant’s deliberate, unlawful, and malicious acts as set forth
above, Plaintiff has suffered loss of employment, earnings, earnings potential, raises, and other

significant economic benefits, along with emotional pain and suffering, emotional distress, and

humiliation

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WHEREFORE, as a result of the unlawful conduct of Defendant, Plaintiff respectfully
requests that this Court enter judgment in his favor and against Defendant,` and grant him the
maximum relief allowed by law, including, but not limited to:

A. Back wages, front pay, and bonuses in an amount to be determined at trial, but not
less than one hundred and fifty thousand dollars ($150,000.00);

B. Punitive, compensatory, and/or exemplary damages in an amount to be determined
at trial, but sufficient to punish Defendant for its intentionan negligent, willful, wanton, and/or

malicious conduct;

C. Plaintiffs costs, disbursements and attorney’s fees incurred in prosecuting this
matter;

D. Pre-judgment interest in an appropriate amount;

E. Such other and further relief as is just and equitable under the circumstances; and

F. Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth by

applicable federal law.

JURY ])EMAND

Plaintiff hereby demands a trial by jury as to all issues so triable.

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Dated: 7/[7/ I§y

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Mic M rph , Es ` -
628 .lohn F. Kennedy Blvd.

Philadelphia, PA 19103

215.375.096l or 267.273.1054
murphv@phillvemplovmentlawver.com
Attorney for Plaintiff

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DEMAND TO PRESERVE EVIDENCE

rfhe Defendant is hereby demanded to preserve all physical and electronic information
pertaining in any way to Plaintiff s employment, to his potential claims and his claims to damagesJ
to any defenses to sameJ including, but not limited to electronic data storage, employment files
files, memos, job descriptions text messages e-mails, spreadsheets, images, cache memory,

payroll records, paystubs, time records, timesheets, and any other information and/or data which

may be relevant to any claim or defense in this litigation

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